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                         Exhibit I
Government’s response to Mr. Kukushkin’s demand for a
     Bill of Particulars dated November 24, 2020
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        The Superseding Indictment and the materials produced during discovery provide you with
more than ample information concerning the allegations that the Government intends to prove at
trial and the supporting evidence. See, e.g., United States v. Reinhold, 994 F. Supp. 194, 201
(S.D.N.Y. 1998) (denying request for bill of particulars where the “indictment is detailed in its
allegations” and the “defendants have had extensive discovery”); United States v. Pacheco, 902 F.
Supp. 469, 475 (S.D.N.Y. 1995) (denying request for bill of particulars because “the charges are
adequately set forth in the indictment, the criminal complaint, and in discovery”); United States v.
Conesa, 899 F. Supp. 172, 176 (S.D.N.Y. 1995) (denying request for bill of particulars because
“[t]he Indictment sufficiently advises defendants of the specific acts of which they are accused”
and “the Government . . . has made available to defense counsel extensive discovery that
supplements the information provided in the . . Indictment”).

        Your request asks for additional evidentiary details and for us to further articulate the
theory or theories of the Government’s case. But it is settled law that “[a]cquisition of evidentiary
details is not the function of the bill of particulars.” United States v. Torres, 901 F.2d 205, 234
(2d Cir. 1990). Nor may a bill of particulars be used as a general investigative tool. “It is not
enough that the information would be useful to the defendant; if the defendant has been given
adequate notice of the charges against him, the government is not required to disclose additional
details about its case.” United States v. Payden, 613 F. Supp. 800, 816 (S.D.N.Y. 1985); see also,
e.g., United States v. Sindone, No. 01 Cr. 517 (MBM), 2002 WL 48604, at *1 (S.D.N.Y. Jan. 14,
2002) (a defendant may not “use a bill of particulars to preview the government’s evidence or trial
strategy, or to require the government to specify the minutiae of how it will prove the charges.”
(citations omitted)); United States v. Guerrerio, 670 F. Supp. 1215, 1225 (S.D.N.Y. 1987) (A bill
of particulars “is not a discovery tool and is not intended to allow defendants a preview of the
evidence or the theory of the government’s case.”). Rather, a bill of particulars is required “only
when the charges of the indictment are so general that they do not advise the defendant of the
specific acts of which he is accused.” United States v. Torres, 901 F.2d at 234. In light of the
Superseding Indictment and the discovery disclosures, there is no colorable argument that the
defendant is unaware of the acts of which he has been accused.

        Based on the foregoing, you are not entitled to the particulars sought through your requests
as they amount to requests for the sort of precise evidentiary detail and information concerning the
Government’s theory of its case that are not the proper function of a bill of particulars, and in any
event, much of what you seek is described in the Superseding Indictment and discovery. If you
have authority for your requests, we would be happy to consider it.

        Notwithstanding the foregoing, while we are not required to do so, in an effort to aid in
your review of the discovery, and to assist you in preparing for trial, the Government is voluntarily
providing additional information regarding certain of your requests. By voluntarily providing this
information, the Government is not limiting its evidence, arguments or legal theories at trial to
what is set forth below. This is not an exhaustive identification of potential information or
evidence related to these specific requests, but rather a roadmap to assist with your review of
discovery in light of your specific requests. In addition, as we have stated previously, the
investigation is ongoing.
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      •   Multiple copies and drafts of the “Political Donations Table” referenced in paragraph 22
          of the Superseding Indictment were produced in discovery, including at USAO_00084470-
          USAO_00084472;            USAO_00084474-USAO_00084476;                 USAO_00090126-
          USAO_00090128; USAO_00094241-USAO_00094244; and                        USAO_00094246-
          USAO_00094248.

      •   Records for the credit card accounts used to pay for contributions and donations referenced
          in paragraph 24 of the Superseding Indictment were produced in discovery at
          USAO_00107954-USAO_00108873.

      •   Records produced by the candidates referenced in paragraph 24 of the Superseding
          Indictment were produced in discovery at USAO_00102503-USAO_00103402 and
          USAO_00143857.

          Please let us know if you have any questions or would like to discuss the foregoing.


                                               Very truly yours,

                                               AUDREY STRAUSS
                                               Acting United States Attorney for the
                                               Southern District of New York

                                            By: _____/s/_____________________
                                                Nicolas Roos
                                                Rebekah Donaleski
                                                Douglas Zolkind
                                                Assistant United States Attorneys
                                                (212) 637-2421/2423/2418



Cc:       Joseph Bondy, counsel for Lev Parnas
          Todd Blanche, counsel for Igor Fruman
